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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA                            Case No. 3:17cr62

        Plaintiff,
                                                    District Judge Walter H. Rice
v.

ANDREW DEMMA

        Defendant.



       ORDER APPOINTING COUNSEL UNDER THE CRIMINAL JUSTICE ACT



        This case is before the Court upon Defendant’s application for appointment of counsel

pursuant to 18 U.S.C. §3006A. Upon the Court’s Sua Sponte Order for Appointment of Counsel,

the Court appointed a member of the Criminal Justice Act Panel.

        IT IS ACCORDINGLY ORDERED that Richard Mayhall, of the CJA Panel for the

Southern District of Ohio, is appointed as counsel to represent the Defendant in this case in any

and all proceedings involving the remand and resentencing in this case.


                                                                                      WSSHU-XGJH5LFH
November 5, 2020                                                                     DXWKRUL]DWLRQDIWHUKLVUHYLHZ
                                                    Walter H. Rice
                                                    United States District Judge
